        Case 3:06-cv-00056-MMD-VPC Document 675 Filed 06/13/08 Page 1 of 6




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11   Attorneys for eTreppid Technologies, LLC and Warren Trepp

12
                                        UNITED STATES DISTRICT COURT
13
                                 FOR THE DISTRICT COURT OF NEVADA
14

15   DENNIS MONTGOMERY, an individual; and
     MONTGOMERY FAMILY TRUST, a California                       Case No. 3:06-CV-00056-PMP-VPC
16   Trust,                                                      Base File

17                          Plaintiffs,                          3:06-CV-00145-PMP-VPC

18          vs.

19   ETREPPID TECHNOLOGIES, L.L.C., a Nevada
     Limited Liability Company; WARREN TREPP,
20   an individual; DEPARTMENT OF DEFENSE of
     the UNITED STATES OF AMERICA; and
21   DOES 1 through 10,

22                          Defendants.
                                                             /
23   AND RELATED CASE(S)
     _______________________________________/
24
25     MOTION TO COMPEL ATTENDANCE OF MS. EDRA BLIXSETH AND MOTION FOR
                           ORDER SHORTENING TIME
26

27          eTreppid Technologies, LLC and Warren Trepp (“eTreppid”), by and through their

28   undersigned counsel of record, Hale Lane Peek Dennison and Howard, hereby submit their Motion to

     ::ODMA\PCDOCS\HLRNODOCS\756693\1          Page 1 of 6
          Case 3:06-cv-00056-MMD-VPC Document 675 Filed 06/13/08 Page 2 of 6




1    Compel the appearance of Ms. Edra Blixseth (“Blixseth”) at the continuance of the Order to Show

2    Cause Hearing on June 24, 2008 at 9:00 a.m. eTreppid further moves this Court to consider this

3    Motion on shortened time, pursuant the Court’s acknowledgement on June 10, 2008 that it will

4    consider this Motion on shortened time. This Motion is supported by the following Points and

5    Authorities.

6                                          POINTS AND AUTHORITIES

7    I.      ARGUMENT.

8            This Court is aware of the factual circumstances surrounding this case, and in particular, the

9    Order to Show Cause Hearing that will be continued on June 24, 2008. Montgomery has refused, and

10   continues to refuse, to provide documents that he was ordered to provide on February 21, 2008.

11   Montgomery’s testimony at the hearing held on June 10, 2008 made clear that Edra Blixseth, who was

12   a principal in Opspring (Montgomery’s former employer) and is apparently also a principal of

13   Blixware (Montgomery’s current employer) is likely to have knowledge of the location of certain of

14   the documents that Montgomery is obliged to produce. For instance Montgomery was ordered to

15   provide all correspondence between himself and Ms. Blixseth, Michael Sandoval, Opspring, Atigeo,

16   and AziMyth. Ms. Blixseth will be able to provide testimony relating to the existence and location of

17   such correspondence. As such, Ms. Blixseth will be able to provide the Court with the information

18   necessary for an informed ruling on eTreppid’s request for sanctions, and her presence at the hearing

19   should be compelled.1

20           In this Court’s February 21, 2008 Order, the Court specifically ordered Montgomery to provide

21   documents in response to eTreppid’s discovery requests. It is clear that Montgomery corresponded

22   with Blixseth via email. In one email, Blixseth, apparently anticipating the beginning of a media

23   campaign against Mr. Trepp, advises Montgomery that “the ball will start rolling to expose some

24   things about WT that need to come out.” See eTreppid’s Reply in Support of Motion For Order to

25   Show Cause, attached thereto as Exhibit “1”. It is simply inconceivable that this is the only email

26   exchanged between Blixseth and Montgomery. Blixseth’s testimony will have a strong bearing on the

27
     1
      Because Ms. Blixseth is not a resident of the State of Nevada, she may not be subpoenaed to testify at the
28   hearing. However, because she is a party to this case, this Court has the jurisdiction to order her to attend the
     June 24, 2008 hearing.
     ::ODMA\PCDOCS\HLRNODOCS\756693\1             Page 2 of 6
        Case 3:06-cv-00056-MMD-VPC Document 675 Filed 06/13/08 Page 3 of 6




1    quantity of emails and documents that are in Montegomery’s control, furthering the notion that

2    Montgomery’s failure to produce these documents is clearly sanctionable.

3           Blixseth will be able to testify concerning the emails between Montgomery and Sandoval,

4    Blixseth, Opspring, or Atigeo, which concern the Contract between Montgomery and Opspring.

5    Clearly, parties would exchange communications to execute a Contract of such magnitude, and

6    Blixseth’s testimony regarding the existence, location, volume, and nature of such evidence is highly

7    relevant.

8           Based on documents that Montgomery has produced in this case, it appears that

9    communications between Montgomery and Blixseth are likely to provide evidence relating to

10   Montgomery’s apparent violation of the preliminary injunction by licensing eTreppid technology to

11   Opspring within weeks of the date upon which the preliminary injunction was entered. However,

12   Montgomery has refused to provide correspondences between himself and Blixseth, Sandoval, or other

13   agents of Opspring, and Blixseth’s testimony may shed light on this issue.

14          This Court has already ordered Montgomery to pay sanctions in the form of attorney’s fees on

15   two occasions. It is evident and undisputed that Blixseth has knowledge of, and participated in, the

16   communications that this Court previous compelled Montgomery to produce.               Ms. Blixseth’s

17   testimony is likely to be highly relevant to the question of whether and to what degree Montgomery

18   has access to documents that he has refused to produce. Accordingly, eTreppid respectfully submits

19   that this Court should compel Edra Blixseth to appear at the June 24, 2008 hearing.

20          Lastly, eTreppid requests that this Court here the present Motion on shortened time, as

21   discussed at the conclusion of the first day of the present show cause hearing on June 10, 2008. See

22   Minutes of Proceedings, Doc. # 670, p. 5. Because eTreppid seeks to compel Ms. Blixseth to testify at

23   the June 24, 2008 hearing, eTreppid submits that this Court should order that any opposition to the

24   present motion be filed on or before June 17, 2008, with eTreppid’s reply to be filed on or before June

25   20, 2008.

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           Case 3:06-cv-00056-MMD-VPC Document 675 Filed 06/13/08 Page 4 of 6




1    II.      CONCLUSION.
2             eTreppid respectfully submits that this Court order that Edra Blixseth appear at the hearing on

3    June 24, 2008, and that this Motion be considered on shortened time.

4             Dated: June 13, 2008.

5
                                                                     /s/
6                                                            J. Stephen Peek, Esq. (NV Bar #1758)
                                                             Jerry M. Snyder, Esq. (NV Bar #6830)
7                                                            Adam G. Lang, Esq. (NV Bar #10117)
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16                                                           eTreppid Technologies, L.L.C. and
                                                             Cross-Defendant Warren Trepp
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        Case 3:06-cv-00056-MMD-VPC Document 675 Filed 06/13/08 Page 5 of 6




1                                                            PROOF OF SERVICE
2            I, Cynthia L. Kelb, declare:

3             I am employed in the City of Reno, County of Washoe, State of Nevada, by the law offices
     of Hale Lane Peek Dennison and Howard. My business address is: 5441 Kietzke Lane, Second
4    Floor, Reno, Nevada 89511. I am over the age of 18 years and not a party to this action. I am
     readily familiar with Hale Lane Peek Dennison and Howard’s practice for collection of mail, delivery
5    of its hand-deliveries and their process of faxes.
6         On June 13, 2008, I caused the foregoing MOTION TO COMPEL ATTENDANCE OF MS.
     EDRA BLIXSETH AND MOTION FOR ORDER SHORTENING TIME to be:
7
     _X___          filed electronically with the U.S. District Court and therefore the court’s computer
8                   system has electronically delivered a copy of the foregoing document to the following
                    person(s) at the following e-mail addresses:
9
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        Case 3:06-cv-00056-MMD-VPC Document 675 Filed 06/13/08 Page 6 of 6




1
            I declare under penalty of perjury under the laws of the United States of America that the
2    foregoing is true and correct, and that this declaration was executed on June 13, 2008.

3
                                                         ____/s/__________________
4                                                        Cynthia L. Kelb
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